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AO 199A (Rev. I2/H) Order Setting Conditions of Release                                                    Page J of _   Pages




                                           UNITED STATES DISTRICT COURT
                                                                     for the

                                                          NORTHERN DISTRICT OF GEORGIA


                UNITED STATES OF AMERICA
                                     V.


                                                                                       Case No.: 1:21-MJ-1215-JSA
               PATRICIA YANNET CORNWALL
                                 Defendant




                                             ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.


(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. §14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in 'writing before making any
       change of residence or telephone number.


(4) The defendant must appew in court as required and, if convicted, must surrender as directed to sen^e a sentence that the
       court may impose.


       The defendant must appear:
                                                                                           Place




       on
                                                                       Date and Time


       If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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                                                  ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3I42(c)(I)(B). the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of:
             Person or organization
             Address (only if above is an organization)
             City                    and                  state                   Tel.                 No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.


                                                                       Signed:
                                                                                                   Custodian                         Date
( X ) (7) The defendant must:
      ( X ) (a) submit to supervision by and report for supervision to the U. S. Probation Office
                  telephone number (404) 21 5-1950 . no later than before leaving the courthouse
      (X ) (b) continue to actively seek or maintain employment.
      ( ) (c) continue or start an education program.
      (X) (d) surrender any passport to: U. S. Probation Office /4^_L^J^.^^^(^C^_^^
      ( X ) (e) not obtain a passport or other international travel document. •i J
      ( ) (f) abide by the following restrictions on personal association, residence, or travel:


       ( X ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                   including:

      ( ) (h) get medical or psychiatric treatment:

      ( ) (i) return to custody each at o'clock after being released at o'clock for employment, schooling,
                   or the following purposes:


      ( ) (J) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.
       ( X ) (k) not possess a firearm, destructive device, or other weapon.
       ( X ) (1) not use alcohol ( X ) at all ( ) excessively.
      ( X ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                   medical practitioner.
       ( ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                   random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                   prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                   of prohibited substance screening or testing.
       ( ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
      ( ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                   ( ) (i) Curfew. You are restricted to your residence every day ( ) from _..__.__. ___ to __ .._ .-or ( )as
                               directed by the pretrial services office or supervising officer; or
                   ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                               medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                activities approved in advance by the pretrial services office or supervising officer; or
                   ( ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                court appearances or other activities specifically approved by the court; or
                   ( ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                you must comply with the location or travel restrictions as imposed by the court.
                                Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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                                                     ADDITIONAL CONDITIONS OF RELEASE

       ( ) (q) submit to the following location monitoring technology and comply with its requirements as directed:
                    ( ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                    ( ) (ii) Voice Recognition; or
                    ( ) (iii) Radio Frequency; or
                    ( )(iv) GPS.
        ( ) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
                    officer.
        ( X ) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                    questioning, or traffic stops.
       ( X ) (t) Defendant's travel is restricted to the Northern District of Georgia and the Central District of California unless the supervising officer has
                     approved travel in advance.




( X ) (u) Defendant is not permitted to travel using an interstate common carrier while on a bond, with the exception that she may return to Los Angeles by
plane provided that she takes her anxiety medication prior to flying. The Court will consider. in the future, whether Defendant shall be permitted to travel by
common carrier for the purposes of Court appearances in this or any other case.
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                                                       Advice of Penalties and Sanctions

  TO THE DEFENDANT:

  YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
  revocation of release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in a term of
  imprisonment, a fine, or both
         While on release, if you commit a federal felony ojfense, the punishment is an additional prison term of not more than ten
  years; if you commit a federal misdemeanor qffense, the punishment is an additional prison term of not more than one year. This sentence will
  be consecutive (i.e., in addition to) any other sentence you receive.
         It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to: obstruct a criminal
  investigation; tamper with a •witness, victim or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of
  the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
  you may beprosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
         (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
               not more than $250,000 or imprisoned for not more than 10 years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
               more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony, you shall be fined not more than $250, 000 or imprisoned not more than two years, or both;
         (4) amisdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
  addition, a failure to appear or surrender may result in the forfeiture of any bond posted.


                                                         Acknowledgment of Defendant

         I achiawledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
  release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.

                                                                                                     L)^<^-^ C^r^y/^rt^/i—^
                                                                                                        Signature of Defendant

                                                                                    XXXXXXXXXXXXXKXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX

                                                                                                                 Address


                                                                                               \n o,^t o^ . Cj^
                                                                                         City andSfqfe Telephone


                                                      Directions to United States Marshal

  (^-^) The defendant is ORDERED released after processing.
        The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has posted
         bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced^before the appropriate
         judge at the time and place specified. ^ \ /\ , /-^

  Date: 12/27/2021
                                                                                                                ,.^   y
                                                                                                     Signature of Judicial Officer

                                                                                          CHRISTOPHERC. ELY. U.S. MAGISTRATE JUDGE
                                                                                                  Name and Title of Judicial Officer

                          DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL
